                                               United States Bankruptcy Court
                                               Middle District of Tennessee
In re:                                                                                                     Case No. 20-00625-MFH
JETHRO SHELDON THURSTON                                                                                    Chapter 13
JENNIFER LEIGH THURSTON
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0650-3                  User: mlh9971                      Page 1 of 1                          Date Rcvd: May 29, 2020
                                      Form ID: pdf001                    Total Noticed: 2


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 31, 2020.
db             +JETHRO SHELDON THURSTON,   5187 MURFREESBORO ROAD,   Lebanon, TN 37090-0627
               +CRACKER BARREL OLD COUNTRY STORE,   ATTN PAYROLL,   POB 787,   LEBANON, TN 37088-0787

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 31, 2020                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 29, 2020 at the address(es) listed below:
              DAVID GEORGE MANGUM    on behalf of Creditor    J & L Sales notice@davidmangum.com,
               terrijackson@davidmangum.com
              HENRY EDWARD HILDEBRAND, III    hhecf@ch13nsh.com
              ROBERT JOSEPH HILL, II    on behalf of Creditor    Harpeth Financial Services, LLC
               hillfirmnotices@gmail.com
              SCOTT D WILSON   on behalf of Joint Debtor JENNIFER LEIGH THURSTON wilsonlgl@hotmail.com,
               wilsonlegalservices@gmail.com;wilsonsr82038@notify.bestcase.com
              SCOTT D WILSON   on behalf of Debtor JETHRO SHELDON THURSTON wilsonlgl@hotmail.com,
               wilsonlegalservices@gmail.com;wilsonsr82038@notify.bestcase.com
              US TRUSTEE   ustpregion08.na.ecf@usdoj.gov
                                                                                              TOTAL: 6




            Case 3:20-bk-00625              Doc 45 Filed 05/31/20 Entered 05/31/20 23:51:53                               Desc
                                          Imaged Certificate of Notice Page 1 of 2
               Dated: 5/29/2020




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